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                                                         Aug 29, 2024
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                                                    EASTERN DISTRICT OF CALIFORNIA




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